Case 3:04-cr-00047-NKM         Document 1556 Filed 10/26/10             Page 1 of 1        Pageid#:
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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF VIRGINIA
                                  CHARLOTTESVILLE DIVISION



   UNITED STATES OF AMERICA                           CRIMINAL NO. 3:04-cr-00047-2

                         v.                           ORDER

                                                      JUDGE NORMAN K. MOON
   LAMONT D. PAYNE


          Pending before the court is defendant Lamont D. Payne’s (“Defendant”) motion

   to correct or modify his sentence (docket no. 1552). For the reasons set forth in the

   accompanying memorandum opinion, Defendant’s motion is hereby DENIED.

          The Clerk of the Court is directed to send a certified copy of this order and the

   accompanying memorandum opinion to all counsel of record and to the Defendant.

                        26th day of October, 2010.
          Entered this _____
